          Case 5:12-cv-01097-M Document 23 Filed 03/27/13 Page 1 of 2



                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

STACY J. BURLISON,                         )
                                           )
                     Plaintiff,            )
                                           )
v.                                         )       Case No. CIV-12-1097-M
                                           )
FARMERS NEW WORLD LIFE                     )
INSURANCE COMPANY,                         )
                                           )
              Defendant.                   )

            JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiff Stacy J. Burlison (“Plaintiff”) and Defendant Farmers New World Life

Insurance Company (“Defendant”), by and through their respective counsel and pursuant to

Rule 41(a)(ii) of the Federal Rules of Civil Procedure, hereby stipulate to the dismissal with

prejudice of Plaintiff’s claims against Defendant.



                                           Respectfully submitted,

                                           s/Joshua C. Stockton
                                           George H. Brown, OBA #18020
                                           Tony Gould, OBA #18564
                                           Joshua C. Stockton, OBA # 21833
                                           BROWN & GOULD, PLLC
                                           136 N.W. 10th Street, Suite 200
                                           Oklahoma City, Oklahoma 73102
                                           Telephone: (405) 235-4500
                                           Facsimile: (405) 235-4507
                                           Email: jstockton@browngouldlaw.com
                                           ATTORNEYS FOR PLAINTIFF


                                               1
Case 5:12-cv-01097-M Document 23 Filed 03/27/13 Page 2 of 2




                          s/ Johnny R. Blassingame
                          J. Angela Abels, OBA #0112
                          Johnny R. Blassingame, OBA #21110
                          KERR, IRVINE, RHODES & ABLES
                          201 Robert S. Kerr Ave., Suite 600
                          Oklahoma City, OK 73102-4267
                          Telephone: (405) 272-9221
                          Facsimile: (405) 236-3121
                          Email: aables@kiralaw.com
                          jblassingame@kiralaw.com
                          ATTORNEYS FOR DEFENDANT




                             2
